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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF CALIFORNIA
 5
 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )               1:05-CR-0161 OWW
 8                                 )
          v.                       )
 9                                 )               ORDER DISMISSING ACTION
     GILDA ROSALES,                )               AS TO DEFENDANT
10                                 )               GILDA ROSALES ONLY
                    Defendant      )
11   ______________________________)
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          Pursuant to the oral motion made by counsel for the government
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     at the hearing held on September 10, 2007, the Indictment as to
15
     defendant GILDA ROSALES only, is ordered dismissed.IT IS SO ORDERED.
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     Dated: October 9, 2007                 /s/ Oliver W. Wanger
17   emm0d6                            UNITED STATES DISTRICT JUDGE
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